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' RENEE REESE
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MARKETRON BROADCAST SOLUTIONS, LLC

FILED:

 

 

DEPUTY CLERK

PLAINTIFF’S MOTI.ON FOR CLASS CERTIFICATION, AND, IN THE
ALTERNATIVE, MOTION TO EXTEN]) DEADLINE FOR CLASS CERTIFICATION

NOW INTO COURT comes Plaintiff Renee Reese, by counsel, individually and on behalf
ot`all others similarly situated, who respectfully submits the instant Motion for Class Certi'l'ication.
Plaintiff notes that this motion is being Submitted pursuant to La. Civil Code of Procedure 592(A)
and reserves her right to supplement the Motion for Class Certitication upon the conclusion of
discovery. The proposed Class is legally and factually appropriate and warranted, and Plaintit`F s
Motion for Class Certitication should be granted. Plaintit`f maintains that the class satisfies all La.
CCP 59l(A) pre-requisites for certitication and commonality predominates over any individual
issues. ln support of this motion, Plaintit`t` relies on the arguments set foith in the attached
memorandum

WHEREFORE, Plaintifl" respectfully requests that this Court enterjudgment on her behalf _

Respectfully submi '

   

 

Rol)er , s CostWé)
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CIVIL DIsTRICT COURT FoR THE PARISH OF oRLEANs
sTATE oF LoUIsIANA
No. I)IvlsloN “ ”
RENEE REESE
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MARKETRON BROADCAST SOLUTIONS, LLC

FILED:

 

 

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ORDER
UPON CONSIDERING THE FOREGOING:

IT IS ORDERED that Defendant, Marketron B:padcast Solutions, LLC appear and show

v _:a» - 9 03
cause on the § 15 w day of &QN , 2018 at lq_:.rn. Why class

certification should not be granted and, alternatively, why Plaintit`t’s deadline to move t`or class

 

certification should not be extended __@
g FEB 8 2016
THUS DONE in New Oi‘leans, Louisiana this day of U , 2018.
moon l

Sgd, 'Paulette Ft. lrons
dudge, Dlvis§on i\fl, Sectlon 13

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CIVIL DISTRICT COURT FOR TI-IE PARlS`l-I OF ORLEANS

STATE OF LOUISIANA

No. C;,l\@ l g-»~ l l Lt@ DIVIs_IoM’

RENEE REESE

VERSUS SECliION 13

MARKETRON BROAI)CAST SOLUTIONS, LLC

 

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CLASS ACTIoNiPETtTIo‘N

 

 

Defcndant Marlteti on Bioadcast Solutions, LLC Plamtiff seeks rcd'less tio1 ll persons injuied by

    
 

Defendant’ s conduct. Plainti f f alleges the following upon personal knowledge and, as to all other

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matters, upon information and belief, including invcst-igatio conducted~byhel attorneys
»11€\==;:§;»;1 `1 ;:11 '__;""' .'_4:`:

   
   

l. Defendant Marlcetron is an ldaho~bas'édieor`i eclahzes m “audience
ii. .l til-f- i

engagement solutions ” This includes, infer alin, sending text message advertising to consumers

on behalf of Marketron’s corporate clients

 

3. In order to enter the free concert ticket contests, listeners must send texts to
Defendant Marketron. Defendant conceals from the contest participants that after texting
Marlcetron for the sole purpose of entering to win tickets, Defendant will respond by sending
advertising messages With an automatic telephone dialing system. Defcndant does not obtain prior
express consent before sending these text messages Furthermore, Defendant does not provide the

recipients of these text messages with the continued knowledge of how to opt~out of the text

 

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messages Thcse actions are violations of the Telephonc Consumer Protection Act, 47 U.S.C. §
227 ("TCPA").

4. As a result, Plaintiff, on behalf of herself and the putative Class, seeks an
injunction requiring Defendant to cease all unlawful text messaging activities alleged in this
Complaint, and an award of statutory damages to Plainti ff and the Class for each such violation,

together with costs and reasonable attorneys' fees

I’AR'I`IES
5. Plaintit`f is a natural person and citizen of the State of Louisiana.
6. Defcndant Marketron Broadcast Solutions LLC is an Idaho~based, for-profit

corporation Defendant conducts business in the State of Louisiana.
JURISDICTION AND VENUE
7. Upon information and belief, jurisdiction and venue is proper because the tortious
conduct herein sued upon occurred in Orleans Parish, Louisiana.

COMM()N FACTUAL ALLEGATIONS

8. Power 102.9 is a New Orleans-area radio station owned by Cumulous l\/ledia Inc.
9. 7 Power 102.9 offers “contests” during its live broadcasts
10. One such contest involves listeners of Power 102.9 obtaining a “chance” for “t`ree

tickets” to a particular musical artist’s New Orlcans-area concert performance

1 1. The contests do not offer a chance to win free tickets to New Orleans-area concerts
generally lnstead, Power 102.9 offers different contests throughout the year that arc specific to a
single artist and a specific concert.

12. In order to enter any particular contest, listeners must text a password named in
the radio broadcast offering the contest to a short code messagng number (“SMS number”) also
identified in the broadcast Typically, the password is a song or album that is related to the artist
being promoted by the contest.

13. None of the contest offers broadcast by Power 1.02.9 forewarn listeners that by
entering the contest they will be subject to advertising or telemarketing messages issued via

automatic telephone dialing systems (“ATDS”).

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14. Class Mcmbers (detined below) manifest nothing more than their interest in
entering a contest for free concert tickets when they text the password to the SMS number
provided by Power 102.9 (the “l;inter-to-win Mcssage”).

15. Defendant Marketron contracts with Cumulous Mcclia to make text message calls
to Class Members in connection with Cumulous Mcdia’s free ticket contest promotions

16. Marketron receives the Enter-to-win Messages from Class Mcmbers.

17. In response to the Enter-to~win Message, Marketron sends text messages to Class
Members that solicit business and/or that contain advertising and telemarketing messaging.
Specitically, Marketron responds with messages that encourage Class members to click
hyperlinks that lead to websites where Class Members can buy concert tickets

18. By virtue of including these hyperlinks, Marketron sends advertising and/or
telemarketing messages to Class Members.

19. Marketron does not receive prior express written consent from Class Members
prior to sending these advertising and/or telemarketing messages

20. In fact, Marketron’s advertisement messages to Class Members are concealed as
“free giveaways.”

21. Additionally, following receipt of Class Members’ Enter-to¢win Messages,
Defendant sends misleading text messages to Class Members’ phone that trick Class Members
into enrolling in Defendant’s text messaging advertising campaigns

22. Specifically, Marketron messages Class Members that the “more texts” those
Class Members receive, the “more chances” that Class Members have to win the specific tickets
the Class Members have entered to win.

23. Markctron then secures Class Members consent to receive more texts-but never
reveals to Class Members that the “more texts” will not actually increase their chances ofwinning
tickets that the Class Members have entered to win_but instead will subject Class Members to
future advertising and telemarketing messages unrelated to the tickets desired by Class Members.

24. Finally, Defendant does not disclose to Class Members how to discontinue further

text messages as detailed below.

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anerience of Plaintiff Rccsc

25. PlaintiffReese heard a radio broadcast on Power 102.9 offering entry into a contest
for free tickets to a musical performance by the artist Tinashe.

26. 'I`he broadcast explained to Plaintiff that in order to enter, she needed to text the
word “joyri_de” to SMS code 68255.

27. The broadcast did not mention in any way that Plaintiff would receive an ATDS
telemarketing or advertising message in response to her Enter~to-win l\/lessage.

28. 'l`he broadcast did not provide any information whatsoever apart from the fact that
by texting “joyride,” Plaintiff would be entered to win the tickets

29. After sending the Enter-to»win Message, Marketron sent a message back that read:
“Power 102.9: Ur entered 2 win TINASHE@I-IOB tixl More txts=more chances! Reply POWER
to join Buy tix: bit.ly/tinasheK.KND” (emphasis added).

30. The url “bit.ly/tinasheKKND” led to a website that sold tickets to New Orleans~
area concerts Marketron sent this url to Plaintiff without prior express written consent in order
to encourage her to buy tickets

31. Piaintiff replied “l’ower” to the text message

32. Defendant then sent a follow~up message asking Plaintiff to consent to “rcv mktg
msgs from POWER” by replying with the letter “Y”.

33. Plaintiff replied with the letter “Y”,

34. Defendant then proceeded to send Plaintiff numerous text messages promoting
various musical artists and their upcoming New Orleans-arca concerts-none of which were
related to the contest to receive free tickets to a Tinashe concert.

35. These additional text message promotions did not include instructions on how the
Plaintiff could opt-out of the automated phone calls

36. For example, on l\/lay 28, 2016, Plaintiff received the following message from
Defendant: “Power 102.9: Reply REALLYREALLY to enter win 2 tix to KEVIN GATES (6.4
@Orpheum'l`heater) msg&data rates may apply For Plug Project info/tix click bit.ly/PlugProj.”

37. Defendant created and/or controlled the content of the aforementioned text
mcssages, initiated or took steps necessary to place such text message advertising calls using an

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automated telephone dialing system and/or were so involved in placing the texts as to be deemed

to have initiated them.

38. Tlie nature of the text messages sent by Defendant indicates that it used an ATDS.
Speciiically, the hardware and/or software used by Defendant has the capacity to store, produce,
and dial random and sequential numbers, and/or receive and store lists of telephone nu.mbers, and
to dial such numbers, en masse, in an automated fashion without human intervention. Defendant’s
automated dialing equipment includes features substantially similar to a predictive dialer,
inasmuch as it is capable of making numerous text message calls simultaneously (all without

human intervention).

39. The text messages were written in an impersonal manner.
40. The text messages were not addressed to Plaintiff by name.
41. The text message advertising calls alleged herein were exclusively made by

Defendant. Defendant made, or had made on their behalf, the same (or substantially the same)
text message calls en masse to thousands of cellular telephone numbers

42. f.'fhrough its conduct, Defendant caused Class Members actual harm by sending
unauthorized text message calls at issue. Plaintiff and members of the Class were not only
subjected to'the aggravation that necessarily accompanies the receipt of unauthorized text
messages, but also because consumers frequently have to pay their cell phone service providers
for the receipt of such unauthorized text messages Additionally, Class Members were harmed by
the inconvenience and con'liision attendant to receiving ATDS calls that are not accompanied by
opt~out directions

43. Moreover, Plaintiff and members of the Class suffered injuries in the form of
invasion of privacy and violations of their statutory rights, the monies paid to receive Defendant’s
unsolicited text messages, the diminished value and utility of their telephone equipment and
telephone subscription service (i.e. the value of such equipment and services is higher when
unencumbered by repeated and harassing text messages), the amount of time lost answering and
fielding unwanted telemarketing text messages, the wear and tear on their telephone equipment,

the loss of battery (which becomes diminished with each incoming phone call), the loss of battery

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life (which has a finite number of charging cycles), and electricity costs required to recharge their
cellular phones.

44. Defendant did not send Plaintiff text messages pursuant a written agreement that
included: (l) clear and conspicuous authorization for Defendant to deliver advertising messages
via autodialed calls or robocalIs/robotexts; (2) language indicating that signing such agreement is
not a condition for purchasing products or services; or (3) Plaintiff’s telephone number to which
they signed and authorized advertisements or advertising messages to be delivered.

45. Additionally, many of the text messages sent by Defendant to Plaintiff failed to
include an automated opt~out mechanism for Plaintiff to make a do-not-call request.

46. Defendant was and is aware that the above-described text message calls were being
made on a widespread basis, and that the text message calls were being made to consumers who

had not consented to receive them.

CLASS ACTION ALLEGATIONS

47. The above-pleaded facts are representative of the experiences of all Class
Mernbers.

48. Plaintiff Reese brings this action on behalf of herself and a class defined as
follows:

Class Definition: All individuals in the United States whose wireless
telephone number Defendant, or someone on Defendant’s behalf, called
using an automatic telephone dialing system or an artificial or prerecorded
voice in relation to Power 102.9 concert promotions
Excluded ti'om the Class are: (l) any Judge or Magistrate presiding over this action and
members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,
predecessors, and any entity in which the Defendant or its parents have a controlling interest and
its current or former empioyees, officers and directors; (3) persons who properly execute and file
a timely request for exclusion from the Class; (4) persons whose claims in this matter have been
finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and Defendant‘s

counse.i; and {6) the legal representatives7 successors, and assigns of any such excluded persons

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49. Numcrosity: The exact number of Class members is unknown and not available
to Plaintiff at this time, but it is clear that individual joinder is impracticable On information and
belief, Defendant has sent text message advertising calls to thousands of consumers who fall into
the definition of the Class. Class members can be identified through Defendant‘s records

50. Commonality and Predominance: There are many questions of law and fact
common to the claims ofPlaintiff and the putative Class, and those questions predominate over
any questions that may affect individual members of the Class. Common questions for the Class
include those in the following non~exc|usive list:

(a) Whether Defendant's conduct violated the TCPA;

(b) Wliether Defendant sent text messages to Class M.embers using an ATDS,
as contemplated by the TCPA;

(c) Whether Defendant systematically sent text message advertising calls to
Class Members who did not previously provide it with prior express
written consent to receive such text message calis‘,

(d) Whether Defendant sent text message advertising calls to Class l\/lembers
where those messages did not include opt~out instructions;

(e) Whether Plaintiff and Class Members are entitled to treble damages based
on the willfulness of Defendant‘s conduct.

51. Typicality: Plaintifl`s claims are typical of the claims of other members of the
Class in that Plaintiff and Class lviernbers sustained damages arising out of Defendant’s uniform
wrongful conduct and unsolicited text message calls.

52. Adcquatc Representation: Plaintiff will fairly and adequately represent and
protect the interests of the Class, and has retained counsel competent and experienced in complex
litigation and class actions. PlaintifF s claims are representative of the claims of the Class
Members. That is, Plaintifl" and the Class Members sustained damages as a result of Defendant’s
conduct and received substantially the same text messages Plaintiff also has no interests
antagonistic to those of the Class, and Defendant has no defenses unique to Plaintiff. Plaintiff and

her counsel are committed to vigorously prosecuting this action on behalf of the members of the

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Class, and have the financial resources to do so. Neither Plaintiffnor her counsel has any interest
adverse to the Class.

53. Appropriatencss: This class action is also appropriate for certification because
Defendant has acted or refused to act on grounds generally applicable to the Class as a whole,
thereby requiring the Court's imposition of uniform relief to ensure compatible standards of
conduct toward the members of the Class and making final class-wide injunctive relief
appropriate Defendant's practices apply to and affect the members of the Class uniformly, and
Plaintiff‘s challenge of those practices hinges on Defendant’s conduct with respect to the Class as
a whole, not on facts or law applicable only to Plaintiff. Additionally, the damages suffered by
individual members of the Class will likely be small relative to the burden and expense of
individual prosecution of the complex litigation necessitated by Defendant’s actions Thus, it
would be virtually impossible for Class Members to obtain effective relief from Defendant’s
misconduct on an individual basis A class action provides the benefits of single adjudication,
economies of scale, and comprehensive supervision by a single court. `Economies of time, effort,
and expense will be fostered and uniformity ofdecisions will be ensured.

54. Plaintiff reserves the right to revise the foregoing "Class Allegations" and "Class
Definition" based on facts learned through additional investigation and in discovery. 1

FIRST CAUSE OF ACTION
(Violation of 47 U.S.C. § 227, et seq. - Tclephone Consumer Protcction Act)
(on behalf of Plaintiff and the Class)

55. Plaintiffincorporates the foregoing allegations as if fully set forth herein.

56. Defendant violated 47 U,S.C. § 227(b)(l)(A)(iii) of the TCPA by making
advertising and/or telemarketing text message callsJ using an ATDS, to Plaintiffs and Class
Members’ cellular telephones without prior express written consent

57. Defendant also violated 47 U.S.C. § 64.l200(b)(3) by failing to include in every
ca11 an automated opt-out mechanism for Plaintiffs and Class to make a do-not-cail request in
such calls.

58, As a result of Defendant’s unlawful conduct, Plaintiff and the members of the

putative Class suffered actual damages and have also had their rights to privacy adversely

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iinpacted. Plaintift` and the Class are therefore entitled to, among other things, a minimum of 3500
in statutory damages for each such violation under 47 U.S.C. § 227(b)(3)(B).

59. Because Defendant’s misconduct was willful and knowing, the Court should,
pursuant to 47 U.S.C. § 227(b)(3), treble the amount of statutory damages recoverable by the
Plaintiff and the other members of the putative Class.

60. Additionally, as a result of Defendant’s unlawful conduct, Plaintiff and the other
members of the Class are entitled to an injunction under 47 U.S.C. § 227(b)(3)(A) to ensure that
Defendant’s violations of the TCPA do not continue into the future.

RELIEF REQUESTED

WHEREFORE, Plaintif'li`Renee Reese, individually and on behalfof the Class, prays for
the following relief:

(a) An order certifying this case as a class action, appointing Plaintiff Renee Reese as
Class Representative and her attorneys as Class Counsel;

(b) Enter a judgment in favor of Plaintiff and the proposed class for all damages
available under the TCPA, including $500.00 per violation and up to $1,500.00 per violation if
Defendant willfully violated the TCPA;

(c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

(d) A declaratory judgment that Defendant’s telephone calling equipment constitutes
an automated telephone dialing system under the TCPA;

(e) An order requiring Defendant to disgorge any ill-gotten funds acquired as a result
of its unlawful telephone calling practices;

(f) An injunction requiring Defendant to cease all unsolicited text message activities,
and otherwise protecting the interests of the Class; §

(g) Award Plaintiff and the class attorney’s fees and all expenses of this action, and
requiring Defendant to pay the costs and expenses of class notice and claims administration; and

(h) Such other and further relief as the Court deems just and proper.

JURY DEMAND

Plaintiff demands trial by jury on all issues for which ajury trial is allowed

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Respectfully

 

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Aftorneys_)?)r Plnfnr._r`]_’j"

PLEASE SE.RVE VIA LOUISIANA .LONG»-ARM STATUTE:

Marlcetron Broadcast Solutions, LLC
via its registered agent:

Corporation Service Company

251 Little Falls Drive
Wilmington, Delaware 19808

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CIVIL I)ISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. DIVISION “ ”
RENEE REESE
VERSUS
MARKETRON BROADCAST SOLUTIONS, LLC

FILED:

 

 

DEPUTY CLERK

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS

CERTIFICATION. AND, IN rI_`I-IE ALTERNA'I`IVE, MOTION TO EXTEND DEADLINE
FOR CLASS CER'I`IFICATlON

Plaintiff Renee Reese, by and throuin her undersigned counsel, hereby respectfully moves
the Court for an Order certifying this case as a class action pursuant to Louisiana Code of Civil
Procedure Articles 591 and 592. This motion is made pursuant to Louisiana Code of Civil
Procedure 592, which requires Plaintiff to move for class certification within 90 days after service
of PlaintifF s petition. While Plaintifl" believes that this case is apt for class certification and that
it can be certified on the basis of the complaint alone, Plaintiff requests an opportunity to do 3-4
months of class-related discovery to further support this motion, should the Court find class
certification premature at this time.

The nature of Reese’s legal claims and factual allegations are particularly well-suited to
class certification Through a common and standardized course of conduct, Defendant Marketron
Broadcast Soiutions, LLC (“Marketron”) obtained the telephone numbers of thousands of
consumers, and, without the requisite consent, instituted a text message advertising campaign to
those consumers using an artificial or prerecorded voice. The methods by which Defendant
obtained Class Members’.phone numbers, the manner in which it called those phone numbers, and
the substance of the phone calls themselves are essentially identical across all Class Members.

Through its conduct, Defendant repeatedly violated the Telephone Consumer Protection
Act, 47 U.S.C. §§ 227, et seq. (“TCPA”)j thereby entitling Class Members to statutory damages

and injunctive relief. For these reasons and as discussed further herein, the proposed Class meets

 

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each of the requisites to certification under Louisiana Code of Civil Procedure 591(A) and (B),
and the instant motion may be granted in its entirety.
I. FACTUAL BACKGROUND
Power l02.9 is a New Orleans-area radio station owned by Cunrulus Media lnc.

Pet. il 9. Power 102.9 offers “contcsts” during its live broadcasts Id. at il 9. One such contest

involves listeners of Power 102.9 obtaining a “chance” for “free tickets” to a particular musical

artist’s New Orleans-area concert performance Id. at il 10. ln order to enter any particular contest,

listeners must text a password named in the radio broadcast offering the contest to a short code

messaging number (“SMS number”) also identified in the broadcast fd. at ‘jl 12. None of the contest

offers broadcast by Power 102.9 forewarn listeners that by entering the contest they will be subject

to advertising or telemarketing messages issued via automatic telephone dialing systems

(“ATDS”). ]d. at il 13. Class Members manifest nothing more than their interest in entering a

contest for free concert tickets when they text the password to the SMS number provided by Power

102.9 (the “Enter-to~win Message”). Id. at il 14.

Defendant Marketron receives the Enter~to-win Messages from Class Members and in

v response sends text messages to Class l\/lembers that solicit business and/or that contain advertising

and telemarketing messaging. Icl. at 111[ 16, 17. Specifrcally, Marl.cetron responds with messages

that encourage Class members to cliclc hyperlinl<s that lead to websites where Class Members can

buy concert tickets ]d. at 1[‘|[ 17, 18.

Marketron does not receive prior express written consent from Class Members prior to
sending these advertising and/or telemarketing messages Id. at ‘ll 19. ln fact, l\/larl<etron’s
advertisement messages to Class Members are concealed as “t`ree giveaways.” Id. at il 20.
Additionally, following receipt of Class Members’ Enter~to~win Messages, Defendant sends
misleading text messages to Class Members’ phone that mislead Class Members into enrolling in
Defendant’s text messaging advertising campaigns Icl. at il 21. Specifically, Marketron messages
Class l\/fembers that the “more texts” those Class Members receive, the “more chances” that Class
Members have to win the specific tickets the Class Members have entered to win. Id. at ll 22.
Marketron then secures Class Members consent to receive more texts~»~but never reveals to Class
l\/fembers that the “more texts” will not actually increase their chances of winning tickets that the

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Class Members have entered to winmbut instead will subject Class Members to future advertising
and telemarketing messages unrelated to the tickets desired by Class Members. Ia’. at il 23.
Defendant continues to text Class Members numerous text messages promoting various
musical artists and their upcoming New Orleans~area concerts_none of which are related to the
contest to receive the free tickets that Class Members initially entered to win. ld. at il 34. These
additional text message promotions do not include instructions on how Ciass Members could opt»
out of the automated phone calis. Id. at il 35.
II. ARGUMENT
a. Thc I’roposed Class
Plaintiff seeks certification of a nationwide class of` individuals (the “Class”), defined
as follows:
All individuals in the United States whose wireless telephone number
Def`endant, or someone on Defendant’s behait`, called using an automatic
telephone di aling system or an artificial or prerecorded voice in relation to
Power 102.9 concert promotions
Excluded from the Ciass are: (l) any Judge or Magistrate presiding over this action and
members of their families; (2) Def`endant, Defendant's subsidiaries, parents, successors,
preclecessors, and any entity in which the Defendant or its parents have a controlling interest and
its current or former employees, officers and directors; (3) persons who properly execute and file
a timely request for exclusion from the Class; (4) persons whose claims in this matter have been
finally adjudicated on the merits or otherwise released; (5) Plaintiff`°s counsel and Defendant's
counsei; and (6) the legal representatives successors, and assigns of any such excluded persons
As demonstrated below, the proposed Class meets each of the Louisiana Code of Civil
Procedure’s (“La. CCP”) requisites to certification and therefore, the instant motion should be
granted in its entirety.
b. Thc Standard for Certification.
Class certification is appropriate under the Code of Civil Procedure when the proponent of
certification demonstrates that each of` the requirements ol"La. CCP 591(A) and at least one of the
subsections under La. CCP 591(]3) have been satisfied La. CCP 591(A) requires that (i) the

proposed class is so numerous that joinder of all individual class members is impracticable

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(numerosity); (ii) that there are common questions of law and fact amongst class members
(cornmonality); (iii) that the proposed representative’s claims are typical of those of the class
(typicaiity); (iv) that both the married-representative and his or her counsel have and will continue -
to adequately represent the interests of the class (adequacy); and (v) the class may be defined
objectively in terms of ascertainable criteria (ascertainability).

In this case, Plaintiff seeks certification of the proposed Class under both La. CCP
591(B)(2) and La. CCP 591(}3)(3). fn order to certify a class under La. CCP 591(]3)(2), a plaintiff
must show that the party opposing certification has acted or failed to act on grounds generally
applicable to the class as a whole, so that “final injunctive relief or corresponding declaratory
relief” is appropriate Under La. CCP 591(B)(3) there must be questions of law or fact common to
the proposed class members, which “predominate” over any questions affecting only individual
members, and the class mechanism must be “superior” to other available methods for fairly and
efficiently adjudicating the controversy In determining whether to certify a proposed elass, a court
does not inquire into the merits of the plaintiffs claims. See Eisen v. Ccrrlisle & Jacqaelin, 417
U.S. 156, 177 (1974).

c. Tlie Proposed Class
i. The Nz.zmerosity Reqairement is Sati.r)‘fed.

La. CCP 591(A)’s first requirement ~»~ numerosity ~» is satisfied where “the class is so
numerous thatjoinder of all members is impractical.” La. CCP 591(A)(l). As long as the court can
draw reasonable inferences from the facts before it as to the approximate size of the class and the
infeasibility of joinder, the numerosity requirement is satisfied Mzrllen v. Trea.rure Chest Ccr.rino,
186 F.3d 620, 625~25 (5th Cir. 1999).

l~lere, Reese alleges--~and discovery will show---that Defendant has made unsolicited
telephone calls to the cellular telephones of thousands of individuals throughout the country. Pet.
il 49; see Mtdlen, 186 F.3d at 624 (finding that a class of between 100 and 150 satisfies the
numerosity prerequisite); Newberg on Class Actions § 3:5, 243-46 (“Class actions under the
amended Rule 23 have frequently involved classes numbering in the hundreds, or thousands... fn

such cases, the impracticability of bringing all class members before the court has been obvious,

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and the Rule 23(a)(1) requirement has been easily met.”) Accordingly, the proposed Class satisfies
the numerosity requirement
ii The Cr)mmonafily Reqafrement is Sarr.'s)‘ied.

Next, La. CCP 591(A) requires that “there are questions of law or fact common to the
class.” To meet the commonality requirement, the named-representative is required to demonstrate
that the proposed class members “have suffered the same injury.” Wal-Mm't Stores, Inc. v. Dukes,
131 S. Ct. 2541, 2551 (2011) (quoting Gen. Tel. C0. QfSw. v. Falcon, 457 U.S. 147, 157 (1982)).
In other words, commonality requires that the claims of the class “depend upon a common
contention...of such a nature that it is capable of classwide resolution"»»which means that
determination of its truth or falsity will resolve an issue that is central to the validity of each one
of the claims in one stroke.” Id. Here, there are at least three questions common to all class
members:

1) Did Defendant call Class Members using an ATDS?;

2) Did the “consent" obtained by Defendant allow them to call Class Members’
telephones?; and

3) Did Defendant fail to include the necessary “opt out” language in its calls to Class
Members?

Pet. ll 50. The resolution of these questions as to Plaintiff Reese will resolve precisely the
same questions for all other Class Members. Additionally, the resolution of these common
questions is possible through “generalized” evidence that is applicable to all Class l\/fembers.
Defendant’s equipment for making the calls, the substance of the consent provided by each Class
Mernber, and the text of the text message calls themselves are liability questions that Plaintiff can
present for her own claim, and all Class Members’ claims, at the same time in trial.

Accordingly, the commonality requirement is met as well.

iif. Plcn`ntijjf’s Cfm'ms are Typz'cal ofthe Class

Article 591 next requires that Plaintiff’s claims are typical of those of the other Class
members La. CCP 591(A)(3). The test for typicality is not demanding Mu!fen, 186 F.3d at 625.
rfypicality is satisfied when the named plaintiffs claims for relief arise from the same common
nucleus of operative facts as the claims of absent class members Newberg on Class Actions § 3.13

at 3-71 (3d ed. 1992) (“[A] plaintist claim is typical if it arises from the same event or practice

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or course of conduct that gives rise to the claims of other class mem.bers, and if his claims are
based on the same legal theory.”). Typicality does not require the claims of the class members be
identical. Rather, a claim by a representative plaintiff is “typica " if it is one which members of
the proposed class should reasonably expect to be raised. Mullen, 186 F.3d at 625 . A strong
similarity of legal theories will, accordingly, satisfy the typicality requirement, despite factual
differences between the representative plaintiffs and the class members Forbush v. .].C. Penney
Co. Inc., 994 F.2d 1101, 1106 (Sth Cir. 1993).

Here, Plaintiff and the proposed Class were each subjected to Defendant’s common course
ofconduct. That is, they each received one or more unsolicited text message advertising calls from
Defendant encouraging them to purchase concert tickets. Pet. 11 51. There is nothing particularly
unique or special about Plaintiff Reese’s claim when compared to those of other Class Members.
She is just one of many consumers whose telephone was subject to allegedly unlawful phone calls
by Defendant As such, by pursuing her own claims, Plaintiff will necessarily advance the interests
of the proposed Class in satisfaction of La. CCP 591(A)(3)’s typicality requirement

iv. T!re Adequacy ofRepresenration Requfremem' is Satisy‘ied.

Finally, La. CCP 591 (A) requires that the representative parties have and will continue to
“fairly and adequately protect the interests of the class.” La. CCP 591(A)(4). To establish adequacy
of representation, Plaintiff must show that (l) proposed Plaintiff’s counsel is competent to handle
the case and (2) there are no disabling conflicts of interests among the Class Members and Plaintift`.
Payne v. Traveno! .Lcrbomrories, Inc., 673 F.Zd 798, 810 (Sth Cir. 1982). Both requirements are
met here.

Plaintiff Reese has the same interests as the other members of the Class. She, like other
members of the class, received unauthorized text message advertising calls from Defendant as a
result of Defendant’s uniform course of unlawful conduct. Pet, il 51. Her interests are aligned with
the Class Members’ interests, and she has no interests antagonistic to those of the Class. Id.

Plaintiff’s counsel are experienced in litigating collective actions and have represented
classes of aggrieved Plaintiffs both large and small in Louisiana, See, e.g. Mw'ilfo et al v. Coryell
Coumj) Tradesma:r er al, No. 15-3641, Rec. Doc. 357 (E.D. La. Oct. 10, 2017) (Plaintift”s counsel
successfully represented 160 plaintifl"s, involving considerable expenditures of time and costs, as

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well as complex discovery and trial issues). Plaintiff's counsel are well-respected members in the
legal community and are more than adequate counsel to represent the interests of the class.
d. The Proposed Class Mccts thc Requirements of La. CCP 591(B)(2) and (B)(S).

Once the prerequisites of Rule 23(a) have been satist`ied, one of the three subsections of
La. CCP 591(B) must be satisfied as well. Here, Plaintiff seeks certification of the proposed Class
under La. CCP 591(B)(2) and (B)(3).

i. La. CCP 59](B)(2) is sz`.s_‘jied.

Accorcling to La. CCP 591(13)(2), class certification is proper if the Defendants “acted or
refused to act on grounds generally applicable to the class, thereby making appropriate final
injunctive relief or corresponding declaratory relief with respect to the class as a whole . . and
the representatives are seeking “final injunctive relief or corresponding declaratory relief.”

There should be no question that the Defendant acted on grounds generally applicable to
the Class as a whole, lt made essentially identical text message advertising calls to Plaintif`f and
each of the other putative Class members without their consent seeking to draw customers to
websites in order to sell concert tickets. Pet. 1111 17, 18, 41. Likewise, Plaintiff and the Class
members were opted in to the text message advertising campaign in the same manner in that their
cellular telephones existed in Defendant’s records at the time the campaign was instituted Id. at
1111 17, 18. Thus, if ajury finds that Defendant’s conduct was and is unlawful, final injunctive relief
will be necessary to protect Plaintiff and the other members of the Class from that conduct in the
future. Thus, the requirements of Rule 23(b)(2) are satisfied

ii. La. CCP 591(B)(3) is Satis_fied.

Plaintiff also seeks class certification under La. CCP 591(]3)(3), which provides that a class
action may be maintained where the questions of law and fact common to members of the class
predominate over any questions affecting only individual members, and the class action
mechanism is superior to other available methods for the fair and efficient adjudication of the
controversy. This case easily meets both of these requirements First, La. CCP 591(}3)(3)’5
“predominance requirement looks to whether the proposed class is ‘sufficiently cohesive’ to
warrant ‘adj udication’ by representation.’ " Unger v. J. Amedisys, 401 F. 3d 316, 320-321 (5th Circ.
2005) (citing Amchem Pmds., Inc. v. Wind.s‘or, 521 U.S. 591 (1997)). The inquiry requires courts

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to identify “the substantive issues that will control the outcome, assess[ ] which issues will
predominate, and then determin[e] whether the`issues are common to the class.” Madison v.
Chalmerte Rejim`ng, LLC, 637 F. 3d 551, 555 (5“‘ Circ. 2011) (citing O'Stl]livan v. Countrywide
Home Locrns, lnc., 319 F.3d 732, 738 (Sth Cir.2003)).

In this case, the claims of Plaintiff and other Class Members all arise from Defendant’s
standardized conduct of making text message advertising calls to their cellular telephones without
obtaining prior consent Thus, the common questions described in Section II(C)(ii), supra,
predominate over any issues affecting only individual Class Members (e.g., the total number of
telephone calls received by each individual Class l\/lember, or the precise dates and/or times that
Class Members received the calls). l\/loreover, the evidence necessary to prove Plaintiff’s and the
Class’s claims-including the content of the telephone calls, the manner and means by which
Defendant made the ealls, to what phone numbers they were made, and how Defendant obtained
those phone numbers-mwill come from Defendant’ s own records, rather than from individual Class
members themselves The only claim at issue in this case_Defendant’s violation of the TCPA-
presents numerous common and predominant issues that are all subject to generalized proofs i.e.
proving Plaintiff Reese’s claim proves the claims of all other Class Members. As such, the
predominance requirement is satisfied

Finally, La. CCP 591(13)(3) further requires that the class action mechanism be superior to
the other available methods for the fair and efficient adjudication of the controversy The instant
class action is superior to other available methods for litigating Plaintiff’s and the other Class
Members’ claims. Absent class treatment, each individual Class lvfember would be required to
present the same or essentially the same legal and factual arguments, in separate and duplicative
proceedings, the result of which would be a multiplicity of trials conducted at enormous expense
to both the judicial system and the litigants Such a result would be neither efficient nor fair to
anyone, including Defendant Moreover, there is no indication that members of the Class have a
strong interest in individual litigation, let alone any incentive to pursue their claims individually,
given the small amount of damages likely to be recovered relative to the resources required to
prosecute such an action.

Accordingly, the superiority requirement is satisfied as weli,

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CONCLUSION
For the foregoing reasons, and which wiil be borne out by class discovery, this case is
appropriate for class certification Aecordingly, Piaintif_`f Renee Reese, on her own behalf and on
behalf of the proposed Class, respectfully requests that the Court (l) certify the proposed class; or
(2) allow for and schedule discovery to take place on class-wide issues, and grant Plaintit`t` leave
to tile a supplemental memorandum in support ol" her Motion for Class Certitication upon the

conclusion of class-wide discovery

   

 

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